                Case 8:25-bk-10614-SC                   Doc 1 Filed 03/11/25 Entered 03/11/25 15:27:59                                     Desc
                                                        Main Document    Page 1 of 12

Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Global Premier Regency Palms Oxnard, LP

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2020 Main Street Suite 300
                                  Irvine, CA 92614
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  1020 Bismark Way Oxnard, CA 93033
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 8:25-bk-10614-SC                      Doc 1 Filed 03/11/25 Entered 03/11/25 15:27:59                                       Desc
                                                            Main Document    Page 2 of 12
Debtor    Global Premier Regency Palms Oxnard, LP                                                      Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                 Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a                         Northern District of
     separate list.                              District   California                    When       8/16/22                    Case number   9:22-10626-RC
                                                 District                                 When                                  Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                 Case 8:25-bk-10614-SC                           Doc 1 Filed 03/11/25 Entered 03/11/25 15:27:59                                       Desc
                                                                 Main Document    Page 3 of 12
Debtor    Global Premier Regency Palms Oxnard, LP                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                             x $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                Case 8:25-bk-10614-SC          Doc 1 Filed 03/11/25 Entered 03/11/25 15:27:59                              Desc
                                               Main Document    Page 4 of 12
Debtor   Global Premier Regency Palms Oxnard, LP                                     Case number (if known)
         Name

                             $50,001 - $100,000                      x $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
Case 8:25-bk-10614-SC   Doc 1 Filed 03/11/25 Entered 03/11/25 15:27:59   Desc
                        Main Document    Page 5 of 12
                  Case 8:25-bk-10614-SC               Doc 1 Filed 03/11/25 Entered 03/11/25 15:27:59                                 Desc
                                                      Main Document    Page 6 of 12
Debtor     Global Premier Regency Palms Oxnard, LP                                          Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                   Chapter      11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Global Premier Regency Palms Colton, LP                                 Relationship to you               Affiliate
District   Northern District                          When     6/22/23             Case number, if known             9:23-bk-10517-RC
Debtor     Global Premier Regency Palms Palmdale, LP                               Relationship to you               Affiliate
District   Northern Division                          When     6/02/23             Case number, if known             9:23-bk-10454-RC




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 6
                    Case 8:25-bk-10614-SC              Doc 1 Filed 03/11/25 Entered 03/11/25 15:27:59                                                 Desc
                                                       Main Document    Page 7 of 12

Fill in this information to identify the case:
Debtor name Global Premier Regency Palms Oxnard, LP
United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                 Check if this is an
                                               CALIFORNIA
Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Studio Six5, Inc.                                   Interior Designer                                                                                         $120,000.00
Attn: Corporate
Officer
811 Barton Springs
Rd Ste 800
Austin, TX 78704
Global Bancorp                                      Note + Interest                                                                                             $55,770.00
Attn: Nina Hanna                                    Payable
8 Hilltop
Irvine, CA 92603
Global Realty and                                   Note + Interest                                                                                             $22,747.00
Investment Corp.                                    Payable
Attn: Nina Hanna
8 Hilltop
Irvine, CA 92603
Magdy Hanna                                         Note + Interest                                                                                             $17,209.00
2200 Park Newport,                                  Payable
#401
Newport Beach, CA
92660
JTC USA Holdings                                    EB5 Funds                                                                                                   $13,200.00
Attn: Dawn Shuster                                  Administrator
75 State Street Suite
2801
Boston, MA 02109
Gary White                                          Healthcare                                                                                                    $7,500.00
4206 Great Plains Dr                                Consultant
NE
Salem, OR 97305
Franchise Tax                                       Taxes                                                                                                         $1,945.00
Board
942857
Sacramento, CA
94257-0531




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
Case 8:25-bk-10614-SC   Doc 1 Filed 03/11/25 Entered 03/11/25 15:27:59   Desc
                        Main Document    Page 8 of 12
    Case 8:25-bk-10614-SC   Doc 1 Filed 03/11/25 Entered 03/11/25 15:27:59   Desc
                            Main Document    Page 9 of 12


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                       Global Premier Regency Palms Oxnard, LP
                       2020 Main Street Suite 300
                       Irvine, CA 92614


                       Garrick A. Hollander
                       Winthrop Golubow Hollander, LLP
                       1301 Dove Street, Suite 500
                       Newport Beach, CA 92660


                       California Dept of Tax and Fee Adm
                       Collection Support Bureau Bk Team
                       Mic: 74
                       PO Box 942879
                       Sacramento, CA 94279-0001


                       California Dept. of Tax and Fee Adm
                       Account Info Grp, MIC: 29
                       PO Box 942879
                       Sacramento, CA 94279


                       Christine Hanna
                       326 Quail Ridge
                       Irvine, CA 92603


                       Franchise Tax Board
                       942857
                       Sacramento, CA 94257-0531


                       Franchise Tax Board
                       Bankruptcy Section MS: A-340
                       PO Box 2952
                       Sacramento, CA 95812-2952


                       Gary White
                       4206 Great Plains Dr NE
                       Salem, OR 97305
Case 8:25-bk-10614-SC   Doc 1 Filed 03/11/25 Entered 03/11/25 15:27:59   Desc
                        Main Document    Page 10 of 12



                   Global Bancorp
                   Attn: Nina Hanna
                   8 Hilltop
                   Irvine, CA 92603


                   Global Premier America LLC
                   c/o Christine Hanna (Reg Agent)
                   2020 Main Street Suite 300
                   Irvine, CA 92614


                   Global Premier America, LLC
                   Attn: Christine Hanna
                   2020 Main Street, Suite 300
                   Irvine, CA 92614


                   Global Premier America, LLC
                   Attn: Christine Hanna
                   2020 Main Street, Suite 300
                   Irvine, CA 92615


                   Global Premier Development, Inc
                   Attn: Andrew Hanna
                   2020 Main Street, Suite 300
                   Irvine, CA 92614


                   Global Realty and Investment Corp.
                   Attn: Nina Hanna
                   8 Hilltop
                   Irvine, CA 92603


                   Internal Revenue Service
                   PO Box 7346
                   Philadelphia, PA 19101-7346


                   JKO Group LLC
                   Attn: Jeremy Rothstein
                   G&B Law
                   16000 Ventura Blvd Suite 1000
                   Encino, CA 91436-2730
Case 8:25-bk-10614-SC   Doc 1 Filed 03/11/25 Entered 03/11/25 15:27:59   Desc
                        Main Document    Page 11 of 12



                   Jones Hall, A Professional Law Corp
                   Attn: Corp Officer
                   475 Sansome Street, Suite 1700
                   San Francisco, CA 94111


                   JTC USA Holdings
                   Attn: Dawn Shuster
                   75 State Street Suite 2801
                   Boston, MA 02109


                   Los Angeles County Tax Collector
                   PO Box 54110
                   Los Angeles, CA 90054-0110


                   Magdy Hanna
                   2200 Park Newport, #401
                   Newport Beach, CA 92660


                   National Affordable
                   Communities, Inc
                   Attn: Christine Hanna
                   2020 Main Street, Suite 300
                   Irvine, CA 92614


                   State of California
                   Employment Development Dpt
                   Bankruptcy Group MIC 92E
                   PO Box 826880
                   Sacramento, CA 94280-0001


                   Studio Six5, Inc.
                   Attn: Corporate Officer
                   811 Barton Springs Rd Ste 800
                   Austin, TX 78704


                   U.S. Securities and Exchange Commis
                   Attn: Bankruptcy Counsel
                   444 South Flower Street, Suite 900
                   Los Angeles, CA 90071-9591
Case 8:25-bk-10614-SC   Doc 1 Filed 03/11/25 Entered 03/11/25 15:27:59   Desc
                        Main Document    Page 12 of 12



                   United States Trustee (LA)
                   915 Wilshire Blvd., #1850
                   Los Angeles, CA 90017


                   White Oak Global Advisors, LLC
                   3 Embarcadero Center, Suite 550
                   San Francisco, CA 94111


                   WO Pace Funding, LLC
                   Attn: California Statewide Comm.
                   Development Authority
                   1700 North Broadway, Suite 405
                   Walnut Creek, CA 94596


                   WO PACE Funding, LLC – Series 2023
                   c/o White Oak Global Advisors, LLC
                    3 Embarcadero Center, Floor 5
                   San Francisco, CA 94111
